                      THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                            GREENSBORO DIVISION

KENNETH JEFFREYS,                                    )
an individual,                                       )
                                                     )
               Plaintiff,                            )
                                                     )       CASE NO.: 1:21-cv-00637
vs.                                                  )
                                                     )
GURUOM, LLC,                                         )
a North Carolina Limited Liability Company,          )
                                                     )
               Defendant.                            )
                                                )

                                      COMPLAINT

       Plaintiff, KENNETH JEFFREYS, through his undersigned counsel, hereby files this

Complaint and sues GURUOM, LLC, a North Carolina Limited Liability Company for injunctive

relief, damages, attorneys’ fees and costs pursuant to 42 U.S.C. § 12181 et seq., (“Americans with

Disabilities Act” or “ADA”) and alleges:

                            JURISDICTION AND PARTIES

       1.      This is an action for declaratory and injunctive relief pursuant to Title III of the

Americans with Disabilities Act, 42 U.S.C. § 12181, et seq., (the “ADA”). This Court is vested

with original jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1343. This Court has supplemental

jurisdiction over the subject matter of all other claims pursuant to 28 U.S.C. §1367(a).

       2.      Venue is proper in this Court pursuant to 28 U.S.C. §1391(b), because the

Defendant’s Property, which is the subject of this action, is located in Guilford County, North

Carolina.

       3.      Plaintiff, KENNETH JEFFREYS, (hereinafter referred to as “MR. JEFFREYS”




       Case 1:21-cv-00637-LCB-LPA Document 1 Filed 08/12/21 Page 1 of 6
or “Plaintiff”), is a resident of Wake County, North Carolina.

          4.    MR. JEFFREYS, is an individual with a qualified disability under the ADA. In

1992, MR. JEFFREYS was hit by a drunk driver while working on his job. As a result of that

accident, MR. JEFFREYS is a double leg amputee.

          5.    Due to his disability, MR. JEFFREYS is substantially impaired in several major

life activities and requires a wheelchair for mobility.

          6.    Upon information and belief, GURUOM, LLC, a North Carolina Limited

Liability Company, (hereinafter referred to as “Defendant”) is registered to do business in North

Carolina. Upon information and belief, GURUOM, LLC, is the owner and/or operator of the

real property and improvements which are the subject of this action, to wit: Quality Inn and

Suites (hereinafter referred to as the “Property,”) which is generally located at 2112 W.

Meadowview Road, Greensboro, NC 27403.

          7.    All events giving rise to this lawsuit occurred in the Middle District of North

Carolina, Guilford County.

                                          COUNT I
                             (VIOLATION OF TITLE III OF THE ADA)

          8.    Plaintiff realleges and reavers Paragraphs 1 - 7 as if they were expressly restated

herein.

          9.    The Property, a motel, is open to the public and provides goods and services to

the public.

          10.   Plaintiff has visited the Property discussed herein and plans to visit again in the

near future.

          11.   However, during his previous visit, MR. JEFFREYS experienced serious


                                                     2




          Case 1:21-cv-00637-LCB-LPA Document 1 Filed 08/12/21 Page 2 of 6
difficulty accessing the goods and utilizing the services at the Property due to the architectural

barriers discussed in this Complaint.       Moreover, but for the inaccessible condition of the

Property, Plaintiff would like to visit the Property more often.

               13.     Due to the barriers, Plaintiff has been unable to, and continues to be

unable to, enjoy full and equal access to good and services offered at the Property, owned,

leased, and/or operated by Defendant. Additionally, MR. JEFFREYS continues to desire to visit

the Property, but fears that he will again encounter serious difficulty and safety hazards due to

the barriers discussed herein which still exist.

               14.     Defendant has discriminated, and continues to discriminate, against

Plaintiff in violation of 42 U.S.C. § 12181 et seq. and 28 C.F.R. § 36.302 et seq. by excluding

and/or denying Plaintiff the benefits of the goods and services located on the Property by failing

to provide and/or correct the following barriers to access which Plaintiff personally observed,

encountered, and which hindered his access:

               A.      Plaintiff personally encountered inaccessible parking designated as

                       accessible throughout the Property due to improper placement of ramps in

                       access aisles, excessive slopes, and faded striping and markings

                       identifying the accessible parking spaces.      These conditions made it

                       difficult for Plaintiff to identify which parking spaces were designated for

                       disabled use;

               B.      Plaintiff personally encountered inaccessible curb ramps on the designated

                       accessible routes throughout the Property due to excessively steep slopes,

                       excessively steep side flares, excessive lips, lack of edge protection, lack

                       of level landings, and pavement in disrepair. These conditions made it

                                                    3




        Case 1:21-cv-00637-LCB-LPA Document 1 Filed 08/12/21 Page 3 of 6
                       difficult and unsafe for Plaintiff to maneuver his wheelchair from the

                       parking area to the sidewalk and increased his risk of fall;

               C.      Plaintiff personally encountered inaccessible counter service at the

                       Property. Specifically, there is no lowered counter at the front desk. This

                       prevented Plaintiff from utilizing counters; and

               D.      Plaintiff observed that the hotel pool was not accessible because it did not

                       have a pool lift to accommodate people with mobility issues.

       15.     Upon information and belief, there are other current violations of the ADA and

       the

ADA Accessibility Guidelines (“ADAAG”) at the Property, and only after a full inspection is

performed by the Plaintiff or Plaintiff’s representatives can all said violations be identified.

       16.     To date, the readily achievable barriers and other violations of the ADA still exist

and have not been remedied or altered in such a way as to effectuate compliance with the

provisions of the ADA.

       17.     Independent of his intent to return as a patron to the Property, Plaintiff

additionally intends to return to the Property as an ADA tester to determine whether the barriers

to access stated herein have been remedied.

       18.     Removal of the barriers to access located on the Property is readily achievable,

structurally feasible and easily accomplishable without placing an undue burden on Defendant.

       19.     Removal of the barriers to access located on the Property would allow Plaintiff to

fully utilize the goods and services located therein.

       20.     The Plaintiff has been obligated to retain undersigned counsel for the filing and

prosecution of this action. Plaintiff is entitled to have his reasonable attorneys’ fees, costs, and

                                                        4




        Case 1:21-cv-00637-LCB-LPA Document 1 Filed 08/12/21 Page 4 of 6
expenses paid by Defendant.



                                     PRAYER FOR RELIEF

       WHEREFORE, the Plaintiff demands judgment against Defendant and requests the

following injunctive and declaratory relief:

       A.      That the Court declare that the Property owned, leased, and/or operated by

               Defendant is in violation of the ADA;

       B.      That the Court enter an Order directing Defendant to alter its facility to make

               them accessible to and useable by individuals with disabilities to the full extent

               required by Title III of the ADA;

       C.      That the Court enter an Order directing Defendant to evaluate and neutralize its

               policies and procedures towards persons with disabilities for such reasonable time

               so as to allow Defendant to undertake and complete corrective procedures;

       D.      That the Court award reasonable attorneys’ fees, costs (including expert fees), and

               other expenses of suit, to the Plaintiff; and

       E.      That this Court award Plaintiff such other additional and proper relief as may be

               just and equitable.



Date: August 12, 2021

                                               Respectfully Submitted,


                                               KU & MUSSMAN, P.A.
                                               18501 Pines Blvd, Suite 209-A

                                                     5




       Case 1:21-cv-00637-LCB-LPA Document 1 Filed 08/12/21 Page 5 of 6
                             Pembroke Pines, Florida 33029
                             Tel: (305) 891-1322
                             Fax: (954) 686-3976

                             By: /s/ Walter E. Daniels
                                     KU & MUSSMAN, P.A.
                                     Attorney for Plaintiff
                                     Walter E. Daniels III, Esq.
                                     NC Bar No. 27219
                                     14 South Pack Square, Suite 502
                                     Asheville, North Carolina 28801
                                     Tel: (828) 258-7022
                                     Fax: (888) 277-2412
                                     danielslawfirm.p.c@gmail.com




                                   6




Case 1:21-cv-00637-LCB-LPA Document 1 Filed 08/12/21 Page 6 of 6
